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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

MDL No. 1456

THIS DOCUMENT RELATES TO
ALL CLASS ACTIONS

)
)
)
) CIVIL ACTION: 01-CV-12257-PBS
)
) Judge Patti B. Saris

)

)

DECLARATION OF GEOFFREY M. HORN IN SUPPORT OF APPLICATION FOR
ADMISSION PRO HAC VICE

I, Geoffrey M. Horn, declare as follows:

1. I am a shareholder law firm Lowey Dannenberg Cohen & Hart, P.C.,
which maintains its office at One North Broadway, White Plains, New York 10601.

2. I am an attorney admitted to practice in New York State. I am also
admitted to the United States Court of Appeals for the Second and Eleventh Circuits and the
United States District Court for the Southern District of New York.

3. I am a member of the bar in good standing in each of these jurisdictions.
These are the only jurisdictions in which I have been admitted to practice.

4. There are no disciplinary proceedings pending against me as a member of
the bar of any jurisdiction.

5. I am familiar with the Local Rules of the United States District Court for

the District of Massachusetts.

{1824 / DECL / 00107512.DOC v1}
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I declare under the penalty of perjury that the foregoing is true and correct.

Executed on May 3, 2011.

{1824 / DECL/ 00107512.DOC v1}

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